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     Case: 20-2542                  Document: 00713713259             Filed: 11/09/2020        Pages: 1   (1 of 3)

     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                                 Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                       Phone: (312) 435-5850
              Chicago, Illinois 60604                                            www.ca7.uscourts.gov




                                                           ORDER
 September 17, 2020

                                                             Before
                                        ILANA DIAMOND ROVNER, Circuit Judge
                                        DIANE P. WOOD, Circuit Judge
                                        AMY J. ST. EVE, Circuit Judge



                                         ERIC KRIEG,
                                         Petitioner - Appellant

 No. 20-2542                             v.

                                         UNITED STATES OF AMERICA,
                                         Respondent - Appellee

  Originating Case Information:

 District Court Nos: 2:19-cv-00273-JVB & 2:17-cr-00146-JVB-JEM-1
 Northern District of Indiana, Hammond Division
 District Judge Joseph S. Van Bokkelen


Upon consideration of the MOTION TO APPEAL DENIAL OF BAIL PENDING 2255
APPEAL, filed on September 15, 2020, by pro se Appellant Eric Krieg,

IT IS ORDERED that the motion is DENIED. The appellant has not met the very high
standard applicable to motions for bond pending post-conviction proceedings. See Cherek v.
United States, 767 F.3d 335, 337 (7th Cir. 1985). Because this is an appeal from a decision
denying release pending the resolution of a motion to vacate a conviction filed in the district
court, this order resolves the appeal. See Fed. R. App. P. 9; Cir. R. 9.



 form name: c7_Order_3J(form ID: 177)
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                                         NOTICE OF ISSUANCE OF MANDATE
 November 9, 2020


To:            Robert N. Trgovich
               UNITED STATES DISTRICT COURT
               Northern District of Indiana
               Hammond , IN 46320-0000



                                         ERIC KRIEG,
                                         Petitioner - Appellant

 No. 20-2542                             v.

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  Originating Case Information:

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 District Judge Joseph S. Van Bokkelen

  Originating Case Information:

 District Court No: 2:17-cr-00146-JVB-JEM-1
 Northern District of Indiana, Hammond Division
 District Judge Joseph S. Van Bokkelen
Herewith is the mandate of this court in this appeal, along with the Bill of Costs, if any. A
certified copy of the opinion/order of the court and judgment, if any, and any direction as to
costs shall constitute the mandate.


  RECORD ON APPEAL STATUS:                                        No record to be returned
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   Case: 20-2542          Document: 00713713260                  Filed: 11/09/2020         Pages: 2     (3 of 3)




NOTE TO COUNSEL:
If any physical and large documentary exhibits have been filed in the above-entitled cause, they are
to be withdrawn ten (10) days from the date of this notice. Exhibits not withdrawn during this period
will be disposed of.

Please acknowledge receipt of these documents on the enclosed copy of this notice.

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 Received above mandate and record, if any, from the Clerk, U.S. Court of Appeals for the
 Seventh Circuit.

 Date:                                                Received by:


 _________________________                            ____________________________________




 form name: c7_Mandate(form ID: 135)
